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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


MANOJ AGGARWAL, et al.                         )
         Plaintiffs,                           )
                                               )
                        v.                     )                     Case No. I:I2cv0060
                                               )
OM SIKKA, et al.                               )
                Defendants.                    )

                                            ORDER



        The matter came before the Court on defendants' motions for summary judgment (Docs.

144, 153, and 155). The motions have been fully briefed and argued.1
        For the reasons stated From the Bench, and for good cause,

        It is hereby ORDERED that defendants' motions are GRANTED IN PART and

DEFERRED IN PART. The Nasr defendants' motion is GRANTED as to Count Three and the

Sikka defendants' motion, the Nasr defendants' motion, and Petroleum Marketing Group's

motion arc GRANTED as to Count Five. Defendants' motions are DEFERRED in all other

respects.

        It is further ORDERED that the parties are DIRECTED to Hie, by S:0D p.m.

Wednesday, February 6, 2013, pleadings staling whether they wish the remaining claims to be

resolved by this Court or alternatively, to be dismissed without prejudice such that they may be

tiled in state court.




1Although Count Four was dismissed on defendant's earlier motion to dismiss, plaintiffs have
pled the count again in their Second Amended Complaint. See Aggarwal v. Sikka, 1:12cv60
(E.D.Va. June 12, 2012) (Order). Because Count Four has already been dismissed, it no longer
remains a part of this case and was not considered for summary judgment.
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